  Case 2:20-cv-00154-wks-kjd Document 15 Filed 06/28/21 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                                FOR THE
                          DISTRICT OF VERMONT

TIMOTHY WILEY,                      :
                                    :
            Plaintiff ,             :
                                    :
                                    :
            v.                      : Civil Action No. 2:20-CV-154
                                    :
JAMES BAKER, CORE CIVIC,            :
DENNIS J. HAWKINS, SR., and         :
D. JENKINS,                         :
                                    :
            Defendants.             :

                                 ORDER

      The   Report    and   Recommendation   of   the   United    States

Magistrate Judge was filed January 28, 2021.

      After careful review of the file and the Magistrate Judge's

Report and Recommendation, no objections having been filed by

any   party,     this   Court    ADOPTS    the    Magistrate     Judge's

recommendations in full for the reasons stated in the Report.

Plaintiff shall have 30 days from the date of this order within

which to file an amended complaint.

      Dated at Burlington, in the District of Vermont, this 28th

day of June, 2021.




                                  /s/ William K. Sessions III
                                   William K. Sessions III
                                   District Court Judge
